       Case 1:10-cr-10004-SOH                       Document 159                Filed 04/14/15               Page 1 of 1 PageID #: 478
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'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                               Bruce D. Eddy
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


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                                              (Complete Parts I and II of Page 2 when motion is granted)




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2UGHU'DWH                  04/14/2015                                                                 /s/ P.K. Holmes, III
                                                                                                          Judge’s signature


(IIHFWLYH'DWH              11/01/2015                                  Honorable P. K. Holmes, III, Chief United States District Judge
                      (if different from order date)                                                    Printed name and title
